UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESEE

CHATTANOOGA DIVISION
WILLIAM BRUNER, )
)
Plaillfiff, )
) CaseNo. \!\O-C.\/- 51
v. ) .
) CDH \U l L-€-»Q..
LIBERTY LIFE ASSURANCE COMPANY )
OF BOSTON, and MAYTAG CORPORATION,)
)
Defendants. )

 

NOTICE OF REMOVAL

 

Defendant, Liberty Life Assurance Company of Boston. (“Liberty Life”), by filing this
Notice of Removal, removes this action from the Bradley County Chancery Court for the State of
Tennessee to the United States District Court for the Eastern Distlict of Tennessee, Chattanooga
Division. ln support of this removal, Liberty Life states as follows:

l. Removal is proper under 28 U.S.C. § 1441(a) and (b) because this Court has
jurisdiction of this action pursuant to 28 U.S.C. § 1331 (federal question) as the claims asserted
arise under the “Constitution, laws or treaties of the United States.”

2. Plaintiff filed the initial action in the Chancery Court for Bradley County,
Tennessee on April 12, 2010, alleging claims under the Employee Retirement lncome Security
Act (ERISA), 29 U.S.C. § 1001 et seq. This action Was given case number 2010-cv-ll4. A
copy of the Complaint, Cost Bond and Summons to Liberty Life is attached hereto collectively
as Exhibit A.

3. Plaintiff served Liberty Life With a copy of the Complaint and Summons on April

20, 2010.

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4. The above-described case is a civil action of which this Court has original
jurisdiction under the provisions of the above cited ERISA statutes.

5 . Removal is timely under 28 U.S.C. § l446(b) because this Notice of Removal is
filed within thirty (30) days of perfection of service to Liberty Life of the Complaint and
Summons in this action. Further, although the copy of the Complaint received by Liberty Life
includes a co-defendant, Maytag Corporation, undersigned counsel has inquired with the
Chancery Court for Bradley County, Tennessee and no return of service of process has been filed
showing that service has been perfected on Maytag Corporation. Removal to the District Court,
therefore, does not require consent of co-defendant Maytag Corporation pursuant to 29 U.S.C. §
l446(b).

6. Liberty Life is filing a copy of this Notice of Removal with the Chancery Court
for Bradley County, Tennessee, as required by 28 U.S.C. § l446(d), and serving a copy with
counsel for Plaintiff.

Respectfully submitted

FRoST BROWN ToDD LLC

    

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Attorneys for Defendant
Liberty Life Assurance Company of Boston

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Dated: AprUZO l 0

CERTIFICATE OF SERVICE
I, the undersigned attorney, hereby certify that a true and correct copy of the foregoing
document has been served via United States Mail, first class postage prepaid, upon the following:
Harold C. Wimberly, Esq., 6759 Baum Drive, Knoxville, TN 37919 and Maytag Corporation

through its Registered Agent, Corporation Service Company, 2908 Poston Avenue, Nashville,
TN 37203.

on rhiMy of April, 2010. //é//

/.M Clark Spoden

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